
710 S.E.2d 31 (2011)
STATE of North Carolina
v.
Dennis Tyrone GARNETT, Sr.
No. 96P11.
Supreme Court of North Carolina.
June 15, 2011.
Paul Green, Attorney at Law, Durham, for Garnett, Dennis Tyrone, Sr.
Kimberly W. Duffley, Assistant Attorney General, for State of N.C.
Ronald L. Moore, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 15th of March 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*32 "Denied by order of the Court in conference, this the 15th of June 2011."
